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                                Exhibit A
                     January 30, 2023 Letter from Darien Wallace
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                       IMPERIUM PATENT WORKS
                                       P.O. Box 607
                                Pleasanton, California 94566         Darien K. Wallace
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                                   January 30, 2023

   Michael S. Neustel
   Michelle Breit
   Neustel Law Offices, LTD
   2534 South University Drive, Suite 4
   Fargo, North Dakota 58103

   via email only (michael@neustel.com; michelle@neustel.com)

   Re: Tortious interference with contractual relations and German business
       secrets criminal law


   Dear Michael and Michelle:

   Buergofol has informed Dr. Kurt Stark in the attached email correspondence that
   he could be subject to criminal liability for speaking with you and thereby violating
   his duty to maintain absolute secrecy of all information acquired while he was an
   employee of Buergofol (since 2011). Any information that you obtain from
   Dr. Stark for the benefit of Omega is a covered business secret under the
   German Business Secrets Law (Gesetz zum Schutz von Geschäftsgeheimnissen
   GeschGehG). Protected business secrets under German law are broader than
   just privileged or confidential information under U.S. law. Any attempt by you to
   elicit information from Dr. Stark is also punishable under the Business Secrets
   Law. For your better understanding of the gravity of the situation, I attach
   English (machine) translations of the email correspondence to Dr. Stark and
   Section 23 of the Business Secrets Law. Buergofol intends to request under
   Section 23(8) that you be prosecuted if you attempt to obtain Buergofol’s
   business secrets from Dr. Stark.

   In addition, do not tortiously interfere with Buergofol’s contractual relations with
   Dr. Stark established through his employment contract dated August 25, 2011.
   As stated in Buergofol’s recent motion papers (Dkt. 20, p. 8), Sections 9.1 and
   9.2 of Dr. Stark’s employment contract require him to maintain the secrecy of all
   business secrets, as defined under German law and which encompass more
   than just privileged and confidential information. More particularly, do not induce
   Dr. Stark voluntarily to disclose information to you that would constitute a breach
   of Dr. Stark’s employment contract under German law. Buergofol informs you
   now that if Buergofol learns that you have tortiously interfered with Buergofol’s
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   contractual relations with Dr. Stark, Buergofol will take legal action against you as
   appropriate to protect Buergofol’s interests.

   Sincerely,


   Darien K. Wallace



   Attach.
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                                     Section 4 Penal
                                       provisions
§ 23 Violation of trade secrets

(1) A penalty of up to three years' imprisonment or a fine shall be imposed on anyone who, in
order to promote his own or another's competition, acts out of self-interest, for the benefit of a
third party or with the intention of causing damage to the owner of an enterprise,
1. obtains a trade secret in contravention of Section 4 (1) No. 1,
2. uses or discloses a trade secret contrary to § 4 paragraph 2 number 1 letter a or
3. contrary to Section 4 (2) No. 3, as a person employed by a company, discloses a trade secret
which has been entrusted to him or has become accessible to him within the scope of the
employment relationship during the period of validity of the employment relationship.

(2) Likewise, anyone who, in order to promote his own or another's competition, for his
own benefit, for the benefit of a third party or with the intention of causing damage to the
owner of an enterprise, uses or discloses a trade secret which he has obtained through an
act of another in accordance with paragraph 1 number 2 or number 3 shall be punished.

(3) A penalty of up to two years' imprisonment or a fine shall be imposed on anyone who, in
order to promote his own or another person's competition or for personal gain, uses or
discloses a trade secret which is a secret document or rule of a technical nature entrusted to
him in the course of business, contrary to Section 4 (2) No. 2 or No. 3.

(4) A custodial sentence not exceeding five years or a monetary penalty shall be imposed on
    anyone who
1. acts in a professional capacity in the cases referred to in paragraph 1 or paragraph 2,
2. in the cases referred to in paragraph 1 number 2 or number 3 or paragraph 2, knows
at the time of disclosure that the trade secret is to be used abroad, or
3. in the cases of paragraph 1 number 2 or paragraph 2 uses the trade secret abroad.

(5) The attempt is punishable.

(6) Aiding and abetting acts of a person referred to in Section 53 (1), first sentence, number 5
of the Code of Criminal Procedure shall not be unlawful if they are limited to receiving,
evaluating or publishing the trade secret.

(7) § Section 5 number 7 of the Criminal Code shall apply mutatis mutandis. Sections 30 and
31 of the Criminal Code shall apply mutatis mutandis if the perpetrator acts to promote his own
or another's competition or for his own benefit.

(8) The offense shall be prosecuted only upon request, unless the prosecuting authority deems it
necessary to intervene ex officio due to the special public interest in prosecution.
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                                      Abschnitt 4
                                   Strafvorschriften
§ 23 Verletzung von Geschäftsgeheimnissen

(1) Mit Freiheitsstrafe bis zu drei Jahren oder mit Geldstrafe wird bestraft, wer zur Förderung des
eigenen oder fremden Wettbewerbs, aus Eigennutz, zugunsten eines Dritten oder in der Absicht,
dem Inhaber eines Unternehmens Schaden zuzufügen,
1. entgegen § 4 Absatz 1 Nummer 1 ein Geschäftsgeheimnis erlangt,
2. entgegen § 4 Absatz 2 Nummer 1 Buchstabe a ein Geschäftsgeheimnis nutzt oder offenlegt
oder
3. entgegen § 4 Absatz 2 Nummer 3 als eine bei einem Unternehmen beschäftigte Person ein
Geschäftsgeheimnis, das ihr im Rahmen des Beschäftigungsverhältnisses anvertraut worden oder
zugänglich geworden ist, während der Geltungsdauer des Beschäftigungsverhältnisses offenlegt.

(2) Ebenso wird bestraft, wer zur Förderung des eigenen oder fremden Wettbewerbs, aus
Eigennutz, zugunsten eines Dritten oder in der Absicht, dem Inhaber eines Unternehmens
Schaden zuzufügen, ein Geschäftsgeheimnis nutzt oder offenlegt, das er durch eine fremde
Handlung nach Absatz 1 Nummer 2 oder Nummer 3 erlangt hat.

(3) Mit Freiheitsstrafe bis zu zwei Jahren oder mit Geldstrafe wird bestraft, wer zur Förderung
des eigenen oder fremden Wettbewerbs oder aus Eigennutz entgegen § 4 Absatz 2 Nummer 2
oder Nummer 3 ein Geschäftsgeheimnis, das eine ihm im geschäftlichen Verkehr anvertraute
geheime Vorlage oder Vorschrift technischer Art ist, nutzt oder offenlegt.

(4) Mit Freiheitsstrafe bis zu fünf Jahren oder mit Geldstrafe wird bestraft, wer
1. in den Fällen des Absatzes 1 oder des Absatzes 2 gewerbsmäßig handelt,
2. in den Fällen des Absatzes 1 Nummer 2 oder Nummer 3 oder des Absatzes 2 bei der
Offenlegung weiß, dass das Geschäftsgeheimnis im Ausland genutzt werden soll, oder
3. in den Fällen des Absatzes 1 Nummer 2 oder des Absatzes 2 das Geschäftsgeheimnis im
Ausland nutzt.

(5) Der Versuch ist strafbar.

(6) Beihilfehandlungen einer in § 53 Absatz 1 Satz 1 Nummer 5 der Strafprozessordnung
genannten Person sind nicht rechtswidrig, wenn sie sich auf die Entgegennahme, Auswertung
oder Veröffentlichung des Geschäftsgeheimnisses beschränken.

(7) § 5 Nummer 7 des Strafgesetzbuches gilt entsprechend. Die §§ 30 und 31 des
Strafgesetzbuches gelten entsprechend, wenn der Täter zur Förderung des eigenen oder fremden
Wettbewerbs oder aus Eigennutz handelt.

(8) Die Tat wird nur auf Antrag verfolgt, es sei denn, dass die Strafverfolgungsbehörde wegen
des besonderen öffentlichen Interesses an der Strafverfolgung ein Einschreiten von Amts wegen
für geboten hält.
